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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION

STATE OF MISSOURI,
STATE OF NEBRASKA,
STATE OF ALASKA,
STATE OF ARKANSAS,
STATE OF IOWA,
STATE OF MONTANA,                        No. 4:21-cv-01300-DDN
STATE OF NEW HAMPSHIRE,
STATE OF NORTH DAKOTA,
STATE OF SOUTH DAKOTA,
STATE OF WYOMING,

             Plaintiffs,

   v.

JOSEPH R. BIDEN, et al.,

             Defendants.


         PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION




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                     MOTION FOR A PRELIMINARY INJUNCTION

       The States of Missouri, Nebraska, Alaska, Arkansas, Iowa, Montana, New Hampshire,

North Dakota, South Dakota, and Wyoming (the Plaintiff States) respectfully request that the Court

issue a preliminary injunction enjoining Defendants from requiring any federal contractor or

subcontractor to comply, pursuant to Executive Order 14042 or any similar order, with the Safer

Federal Workforce Task Force’s Covid-19 Workplace Safety: Guidance for Federal Contractors

and Subcontractors or any similar requirement issued by the Safer Federal Workforce Task Force,

the Office of Management and Budget, and/or the Federal Acquisition Regulatory Council.

       The Plaintiff States incorporate by reference the arguments in its Memorandum in Support

of this Motion, filed contemporaneously herewith.

       Because the Defendants’ vaccine mandate requires all employees of federal contractors to

be vaccinated by December 8, 2021, that would require employees to receive their vaccine shot by

November 24, 2021. Plaintiff States therefore request a ruling by November 24, 2021.



Dated: November 4, 2021                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on November 4, 2021, a true and correct copy of the foregoing and

any attachments were filed electronically through the Court’s CM/ECF system, to be served on

counsel for all parties by operation of the Court’s electronic filing system and to be served on those

parties that have not appeared who will be served in accordance with the Federal Rules of Civil

Procedure by mail or other means agreed to by the party.

                                                              /s/ Justin D. Smith




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